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Exhibit 82
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From:
Sent: Tuesday, February 28, 2017 4:36 AM
To: Welty, Scott ( Atlas )
Subject: Filthy Scab
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